            Case 1:20-mj-02541-TMD Document 5 Filed 10/06/20 Page 1 of 1
                                                                        x
                                                                                    ____ FILED ___ ENTERED
                                                                                    ____ LOGGED _____ RECEIVED
                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND                               3:04 pm, Oct 06 2020
                                                                                    AT BALTIMORE
                                                             1:20-mj-2541 TMD CLERK, U.S. DISTRICRT COURT
 IN THE MATTER OF A COMPLAINT                    Case No. _______________________
                                                                               DISTRICT OF MARYLAND
 AND ARREST WARRANT FOR JAMES                    UNDER SEAL                    BYcrp
                                                                                  ______________Deputy
 IAN PICCIRILLI
                                                             1:20-mj-2542 TMD
 IN THE MATTER OF A COMPLAINT                    Case No. _______________________
 AND ARREST WARRANT FOR KELLIE                   UNDER SEAL
 NICOLE WARFIELD

                                      MOTION TO SEAL

       The United States of America respectfully moves this Court to order that these criminal

complaints, arrest warrants, affidavit, and this Motion be SEALED until the defendants have been

arrested.

                                            Respectfully Submitted,

                                            Robert K. Hur
                                            United States Attorney



                                            Brandon Moore
                                            Patricia McLane
                                            Assistant United States Attorneys


                                          ORDER

       It is this      day of October, 2020 hereby ORDERED, that these criminal complaints,

arrest warrants, affidavit, and Motion be SEALED.




                                            Hon. Thomas M. DiGirolamo
                                            United States Magistrate Judge
